
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3528-14.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a3428-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1528-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3518-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3928-14.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3523-14.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
